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                                                       20-mj-808 BRT
STATE OF MINNESOTA
                                       ss.       AFFIDAVIT OF SARA R. THOMAS
COUNTY OF RAMSEY


      I, Sara R. Thomas being duly sworn, depose and state as follows:

                INTRODUCTION AND AGENT BACKGROUND

      1.     I am a Special Agent with the United States Department of Justice,

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), and have been so

employed since December 2016. I was previously assigned to ATF Atlanta Field

Division’s Firearms Trafficking Group, which specialized in criminal investigations

related to the movement of firearms from the legal market to the illegal market.

Since September 2018, I have been assigned to the ATF St. Paul Field Division, where

I am involved in various facets of ATF’s enforcement programs. Before I joined ATF,

I served as a sworn law enforcement officer with other agencies and departments,

holding this title since 2007.

      2.     During my time with ATF, I have investigated multiple cases falling

within ATF’s Arson and Explosives jurisdiction. I have received a significant amount

of training on the subject-matter over which the ATF holds jurisdiction. This training

included four weeks at the ATF National Academy and over four weeks of separate

training on ATF’s Arson and Explosives mission. Additionally, I have participated in

advanced explosives training at the National Center for Explosives Training

Research (NCETR) in Huntsville, Alabama, which focused on improvised explosives

devices.   I have further attended advanced explosives training at New Mexico
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Tech Energetic Materials Research and Training Center, which focused on

homemade explosives and various responses to a variety of bombing incidents.

      3.     The facts in this affidavit are based on my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for

the requested complaint and arrest warrant, and does not set forth all of my

knowledge about this matter.

      4.     This affidavit is being submitted in support of the criminal complaint

for LEROY LEMONTE PERRY WILLIAMS (DOB: XX/XX/1986). 1 Based on my

training and experience and the facts set forth in this affidavit, I respectfully submit

that there is probable cause to believe that WILLIAMS attempted to commit arson in

violation of 18 U.S.C. § 844(i) (arson).

                  FACTS ESTABLISHING PROBABLE CAUSE

Case History

      5.     On August 26, 2020, Minneapolis experienced arson, rioting, and

vandalism of numerous business. The arson, rioting, and vandalism was, in part, a

response to the death by suicide of a suspect in a homicide that occurred at

approximately 2:00 p.m. on the same date. When officers approached the suspect at

approximately 6:30 p.m., he committed suicide on the 800 block of Nicollet Mall in

downtown Minneapolis.



1 I have partially redacted the dates of birth of person(s) listed herein pursuant to
local rules. The full dates of birth are known to me and will be made available to the
Court on request.


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      6.     The arson, rioting, and vandalism that followed was concentrated in

downtown Minneapolis, particularly in the Nicollet Mall area. One of the businesses

set on fire was the Target Headquarters building, located at 1000 Nicollet Mall.

The Target Headquarters Arson

      7.     At approximately 10:53 p.m., Minneapolis City surveillance video

captured a black male with shoulder length hair, who was wearing a red shirt,

red shoes, black socks, and tan pants, walking north on 10th Street South towards

LaSalle Avenue in downtown Minneapolis. This individual was later identified as

WILLIAMS. Directly in front of WILLIAMS was a group of people surrounding a

Target Headquarters building door on 10th Street South, between LaSalle Avenue

and Nicollet Mall.




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      8.     At approximately 10:54 p.m., City of Minneapolis surveillance video

showed WILLIAMS turn around and walk south on 10th Street South towards

Nicollet Mall. WILLIAMS had a bottle in his right hand. WILLIAMS also had a

mask and yellow/orange object, suspected to be a lighter, in his left hand.




      9.     City of Minneapolis surveillance video footage showed WILLIAMS look

towards the commotion occurring in front of the Target Headquarters door.




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      10.    WILLIAMS      then walked       towards the crowd surrounding       the

Target Headquarters building entrance.




      11.    At approximately 10:55 p.m., Target Headquarters surveillance video

showed an individual later identified as Shador Tommie Cortez Jackson 2 use a

“Sidewalk Closed” construction sign to break through one of the glass doors into the

Target Headquarters building entrance located on 10th Street South between

LaSalle Avenue and Nicollet Mall. A second unidentified individual broke into the

second door, allowing access into the building. As the doors were being smashed, a

crowd surrounded them. Target surveillance video showed WILLIAMS standing in

the crowd, outside of the Target Headquarters door as the interior vestibule door was

being broken.



2 I arrested Jackson for committing Arson pursuant to a federal complaint on
September 10, 2020. (See Docket No. 20-mj-681 (TNL)).


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      12.    Target Headquarters surveillance video showed WILLIAMS enter the

building through the broken doors at 10:56 p.m. Interior Target Headquarters

surveillance video showed WILLIAMS inside of the building while it was being set on

fire by Jackson and looted by other unidentified individuals.




      13.    Target Headquarters interior and exterior surveillance video showed

the crowd run out of the building at approximately 11:00 p.m. and 11:01 p.m.

      14.    At approximately 11:02 p.m., City of Minneapolis video surveillance

showed WILLIAMS walking south on 10th Street South. Jackson and Victor Devon


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Edwards (DOB: XX/XX/1989) were walking behind WILLIAMS.




      15.    At approximately 11:03 p.m., City of Minneapolis video surveillance

showed WILLIAMS turn around and walk north on 10th Street South, towards the

Target Headquarters door.

      16.    At   approximately     11:06       p.m.,   City   of   Minneapolis   and

Target Headquarters video surveillance showed WILLIAMS pick up a cardboard box

and attempt to light it on fire using a device that produced a flame consistent with a

lighter. Several flashes were observed.




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      17.   City of Minneapolis and Target Headquarters video surveillance footage

showed WILLIAMS walk over to the Target Headquarters door and lean inside.

WILLIAMS put the lit cardboard and other combustibles in the vestibule area inside

of the Target Headquarters building.




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      18.    City of Minneapolis and Target Headquarters video surveillance footage

showed WILLIAMS then stand with his back toward the door, looking around.




      19.    City of Minneapolis and Target Headquarters video surveillance footage

showed WILLIAMS lean back inside of the door and make additional attempts to

reignite the cardboard and combustibles on fire.




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      20.   At   approximately     11:08    p.m.,     City   of   Minneapolis   and

Target Headquarters video surveillance footage showed an unidentified white male

confront WILLIAMS while WILLIAMS was inside the doorway, attempting to set fire

to the cardboard inside of the vestibule area. WILLIAMS responded aggressively to

the unidentified male and shoved him several times.




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       21.    At 11:10 p.m., City of Minneapolis and Target Headquarters video

surveillance footage showed WILLIAMS make several more additional attempts to

start a fire inside of the vestibule area.

       22.    At 11:15 p.m., City of Minneapolis and Target Headquarters video

surveillance footage showed WILLIAMS enter the vestibule area.

       23.    At 11:17 p.m., City of Minneapolis video surveillance showed

WILLIAMS walk south on 10th Street South, away from the doorway, towards

Nicollet Mall.




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The Identification of WILLIAMS

      24.   On September 24, 2020, ATF released photographs of individuals

suspected of arson. The release included photographs of suspect “TGT-01” from the

Target Headquarters arson on August 26, 2020:




      25.   Three independent sources contacted ATF and identified suspect

“TGT-01” as WILLIAMS.

      26.   On September 25, 2020, a member of Target’s Loss Prevention Team

(Target LPT) contacted the ATF St. Paul Field Office. The Target LPT employee

worked at the Target retail store, located at 900 Nicollet Mall in Minneapolis. The

employee identified the individual in the above images as WILLIAMS.

      27.   The employee informed me that WILLIAMS was a frequent shoplifter

and trespasser at the Target retail store. The employee’s security team had

encountered WILLIAMS in excess of fifty times and had to kick him out of their store

or arrest him on several occasions. I requested and reviewed security records from

the Target retail store regarding WILLIAMS, and confirmed that WILLIAMS is



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frequently present at the Target retail store. In addition, I reviewed Minneapolis

Police Department (MPD) records for WILLIAMS, which list his home address as

XXXX 3 Nicollet Avenue in Minneapolis from at least June 2018 through May 2020.

This address is approximately 1.3 miles from the Target retail store located at 900

Nicollet Mall.

      28.    Also on September 25, 2020, Hennepin County Sheriff’s Office (HCSO)

Criminal Information Analyst Nicole Hughes provided me with a Facebook video

related to this investigation. The video showed WILLIAMS in Minneapolis on

August 26, 2020, at approximately 7:55 p.m.

      29.    The Facebook video was posted by Facebook user “Troy Hardbody East”

and streamed live on August 26, 2020, starting at 7:42 p.m. Troy Hardbody East was

identified as Latroy East (DOB: XX/XX/1990). The associated link to the video was

https://www.facebook.com/troy.h.east/videos/3574840775884115.     HCSO     Analyst

Hughes recorded the video as it was streamed live.

      30.    On September 26, 2020, I reviewed the video. The video was

timestamped 7:42 p.m. A black male with shoulder length hair, a tattoo below his

right eye and a red shirt was shown approximately thirteen minutes into the video

(7:55 p.m.) The male was visually similar in physical appearance and attire to

WILLIAMS.




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 I have partially redacted WILLIAMS’ home address pursuant to local rules. The full
address is known to me and will be made available to the Court on request.


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      31.    Analyst Hughes identified the male as WILLIAMS. The identification

was made by using investigative imaging technology to develop leads and narrowing

those lead results by looking for the matching tattoo near the subject’s right eye.

Analyst Hughes provided me with a booking photograph of WILLIAMS taken in

May 2020. The booking photograph was visually similar to the suspect “TGT-01”

from the Target Headquarters arson on August 26, 2020.




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       32.       On October 1, 2020, MPD Officer Sergio Villegas informed me that a

Speedway Gas Station, located at 101 Grant Street West in Minneapolis, was

burglarized on the night of the arson, August 26, 2020. The burglary occurred at

approximately 9:00 p.m. Officer Villegas informed me that one of the suspects in the

Speedway burglary strongly resembled suspect “TGT-01.” I obtained a copy of MPD

Incident Report 20-223050 related to the burglary and photographs of the suspects

in their case.




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      33.   A review of the Speedway surveillance video showed that the suspect in

the Speedway burglary was a black male who had a muscular build with shoulder

length hair. He was wearing a red shirt, black face mask, gold necklace, and tan

shorts.

      34.   Officer Villegas identified the suspect in the Speedway burglary as

WILLIAMS due to previous MPD interactions with him. Officer Villegas informed

me that WILLIAMS was highly recognizable because of his hair, walk, and stature.

      35.   While reviewing the MPD Incident Report and suspect photographs of

the Speedway burglary, I recognized Speedway burglary suspects from City of

Minneapolis surveillance camera footage. City surveillance video from August 26,

2020, at approximately 11:17 p.m., showed WILLIAMS and another suspect from the

Speedway burglary walking in front of Target Headquarters at 1000 Nicollet Mall.




The Arson Determination by ATF

      36.   On August 27, 2020, ATF Special Agent Certified Fire Investigator

(SACFI) Nicole Hajny and Minneapolis Fire Department Investigator Larry Oker




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examined the fire scene located at 1000 Nicollet Mall. At the time of the initial fire

scene examination, Investigator Oker identified a single area of origin near the

mailroom entrance related to the separate fire set in that area on the evening of

August 26, 2020. Investigator Oker classified the fire as “incendiary” (i.e. arson).

The arson near the mailroom entrance has been attributed to Jackson and Edwards,

both of whom face criminal charges for that arson, and likely did not involve

WILLIAMS.

      37.    Following subsequent review of the Target surveillance video footage,

ATF Special Agent Certified Fire Investigator (SACFI) Nicole Hajny identified a

second area of origin of the fire inside the building. After reviewing the surveillance

video, SACFI Hajny determined that a second fire was set inside of the building at

the front entrance vestibule area. The review of the surveillance video revealed

WILLIAMS making multiple attempts at igniting available combustibles inside the

vestibule of the mailroom entrance.       At one point, the available combustibles

appeared to sustain a flame, as WILLIAMS set them down on the floor inside of the

building. The surveillance video then showed that the fire appeared to extinguish or

diminish. WILLIAMS then made additional attempts to ignite the combustibles.

Based on her examination of the video, SACFI Hajny classified this incident as

“incendiary” (i.e. arson). This second fire has been attributed to WILLIAMS, and

likely did not involve Jackson and Edwards.




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The Target Headquarters Building and Interstate Nexus

       38.   Target Corporation is a large corporation with its corporate

headquarters in Minneapolis, Minnesota. Target has numerous retail outlets

throughout the United States. Target sources some of its inventory from outside the

United States, including Guatemala, China, and India.

       39.   Target corporate headquarters is located in two adjacent buildings,

Target Plaza South and Target Plaza North. The buildings are connected via skyway.

The buildings cover two city blocks, and extend to the area of 10th Avenue South and

LaSalle Avenue. A Target retail store is located one block away on 9th Avenue, which

also can be reached via skyway. That retail store was looted during the civil unrest

described above.

       40.   The mailroom receives a high volume of mail and merchandise samples

from   vendors.    These   samples   are        provided   to   employees,   housed   in

Target Headquarters, for evaluation to determine whether those items will be sold in

Target retail stores.

       41.   Furthermore, Target stock is traded on major U.S. stock exchanges. In

short, Target Headquarters in Minneapolis is a building used in interstate and

foreign commerce and in activities affecting interstate and foreign commerce.

                                 CONCLUSION

       42.   Based on these facts, I believe there is probable cause that WILLIAMS

has violated Title 18, United States Code, Section 844(i), in that he attempted to

maliciously damage by means of fire the Target Headquarters building located at




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